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08/27/2021 01:08 AM CDT




                                                      - 420 -
                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                 STATE EX REL. COUNSEL FOR DIS. v. WICKHAM
                                              Cite as 309 Neb. 420



                       State of Nebraska ex rel. Counsel for Discipline
                         of the Nebraska Supreme Court, relator, v.
                             Christopher P. Wickham, respondent.
                                                 ___ N.W.2d ___

                                        Filed June 4, 2021.     No. S-21-078.

                    Original action. Judgment of public reprimand.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                     INTRODUCTION
                  This case is before the court on the conditional admission
               filed by Christopher P. Wickham, the respondent, on April 15,
               2021. The court accepts the respondent’s conditional admission
               and enters an order of public reprimand.
                                            FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on September 15, 2009. At all times relevant
               to these proceedings, the respondent was engaged in the prac-
               tice of law in Broken Bow, Nebraska.
                  On February 1, 2021, the Counsel for Discipline of the
               Nebraska Supreme Court, the relator, filed formal charges
               against the respondent. The formal charges consisted of two
               counts. Pursuant to Neb. Ct. R. § 3-302, the respondent is
               under the jurisdiction of the Committee on Inquiry of the Sixth
               Judicial District (Committee).
                  The matters alleged in the formal charges were reviewed
               by the Committee pursuant to Neb. Ct. R. § 3-309(H) (rev.
                             - 421 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
          STATE EX REL. COUNSEL FOR DIS. v. WICKHAM
                       Cite as 309 Neb. 420
2011). The Committee determined that there are reasonable
grounds for discipline of the respondent and that the public
interest would be served by the filing of formal charges.
   The formal charges generally allege violations stemming
from the respondent’s representation of criminal defendants’
facing felony charges. The clients had extensive criminal
records. The respondent arranged to have his clients plead
guilty to the charged offenses and have the defendants flee
the state prior to their sentencing hearings. The respondent
brokered a “‘banishment plan’” with the prosecution, who
privately agreed not to seek to extradite the defendants after
they fled.
   The formal charges allege that by his actions, the respondent
violated his oath of office as an attorney licensed to practice
law in the State of Nebraska, as provided by Neb. Rev. Stat.
§ 7-104 (Reissue 2012), and violated Neb. Ct. R. of Prof.
Cond. §§ 3-503.3(a)(1) and (b) (rev. 2016) (candor toward tri-
bunal) and 3-508.4(c) and (d) (rev. 2016) (misconduct).
   On April 15, 2021, the respondent filed a conditional admis-
sion pursuant to Neb. Ct. R. § 3-313(B) of the disciplinary
rules, in which he conditionally admitted that he violated his
oath of office as an attorney and §§ 3-503.3(a)(1) and (b)
(candor toward tribunal) and 3-508.4(c) and (d) (misconduct)
of the professional conduct rules. In the conditional admission,
the respondent admits that his conduct violated the identified
rules of professional conduct. The respondent knowingly does
not challenge or contest the truth of the matters conditionally
asserted and waived all proceedings against him in exchange
for a public reprimand.
   The proposed conditional admission included a declaration
by the Counsel for Discipline, stating that the respondent’s
proposed discipline is appropriate under the facts of this case.
                        ANALYSIS
  Section 3-313, which is a component of our rules governing
procedures regarding attorney discipline, provides in perti-
nent part:
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
          STATE EX REL. COUNSEL FOR DIS. v. WICKHAM
                       Cite as 309 Neb. 420
         (B) At any time after the Clerk has entered a Formal
      Charge against a Respondent on the docket of the Court,
      the Respond­ent may file with the Clerk a conditional
      admission of the Formal Charge in exchange for a stated
      form of consent judgment of discipline as to all or part
      of the Formal Charge pending against him or her as
      determined to be appropriate by the Counsel for Dis­ci­
      pline or any member appointed to prosecute on behalf of
      the Counsel for Discipline; such conditional admission is
      subject to approval by the Court. The conditional admis-
      sion shall include a written statement that the Respond­ent
      knowingly admits or knowingly does not challenge or
      contest the truth of the matter or matters conditionally
      admitted and waives all proceedings against him or her in
      connection therewith. If a tendered conditional admission
      is not finally approved as above provided, it may not be
      used as evidence against the Respond­ent in any way.
   Pursuant to § 3-313, and given the conditional admission, we
find that the respondent knowingly does not challenge or con-
test the matters conditionally admitted. We further determine
that by his conduct, the respondent violated §§ 3-503.3(a)(1)
and (b) (candor toward tribunal) and 3-508.4(c) and (d) (mis-
conduct) of the professional conduct rules and his oath of
office as an attorney licensed in the State of Nebraska. The
respondent has waived all additional proceedings against him
in connection herewith. Upon due consideration, the court
approves the conditional admission and enters the orders as
indicated below.
                        CONCLUSION
   The respondent is publicly reprimanded. If the respondent
applies to appear pro hac vice, he must disclose this discipline.
The respondent is directed to pay costs and expenses in accord­
ance with Neb. Ct. R. §§ 3-310(P) (rev. 2019) and 3-323 of the
disciplinary rules within 60 days after an order imposing costs
and expenses, if any, is entered by the court.
                            Judgment of public reprimand.
